Case 3:06-cv-00051-PDW-ARS Document 6 Filed 06/29/06 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA
SOUTHEASTERN DIVISION

ALIEN TECHNOLOGY CORP., a
Delaware corporation,

)
)
)
Plaintiff, ) Civil Action No. 3:06-CV-51
) .
Vv. )
)
INTERMEC, INC., a Delaware corporation, ) Judge Rodney S. Webb
INTERMEC TECHNOLOGIES CORP.,a_)
Delaware corporation, and INTERMEC IP_ ) _ Magistrate Judge Karen K. Klein
CORP., a Delaware corporation, )
)
Defendants. )

DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT FOR
DECLARATORY JUDGMENT AND REQUEST FOR ORAL ARGUMENT

Defendants Intermec, Inc., Intermec Technologies Corp., and Intermec JP Corporation,
by and through their attorneys FREEBORN & PETERS LLP and SERKLAND LAW FIRM, move to
dismiss Plaintiff's Complaint and state as follows:

1. For the reasons set forth in Defendants’ memorandum in support of their motion
to dismiss, Local Rule 7.1(B)(1) Statement of Material Facts, and supporting declarations and
exhibits, this Court should dismiss, without leave to amend, Plaintiff's First Amended
Complaint.

2. Specifically, Defendant’s seek dismissal of Plaintiffs First Amended Complaint
without leave to amend because: (1) this Court lacks subject matter jurisdiction and the defect
cannot be cured; (2) this Court lacks personal jurisdiction over Intermec, IIP and ITC and the
defect cannot be cured; and (3) Plaintiff failed to identify the products supposedly at risk of a

patent-infringement suit with the specificity required by law.
Case 3:06-cv-00051-PDW-ARS Document 6 Filed 06/29/06 Page 2 of 2

3. Defendants request an oral argument on its motion to dismiss at a time to be

designated by the Court.

Carson P. Veach

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Dated: June 29, 2006

Respectfully Submitted,

INTERMEC, INC., INTERMEC TECHOLOGIES
CORP., and INTERMEC IP CORP.

By: s/ Ronald H. McLean.
One of Its Attorneys

